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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 BOISE CASCADE COMPANY,                          Civil Action No. 1:19-cv-10738

               Plaintiff,
        v.

 NEW ENGLAND TREATMENT ACCESS,
 LLC,

               Defendant.


    CORPORATE DISCLOSURE STATEMENT OF BOISE CASCADE COMPANY

       Pursuant to Federal Rule of Civil Procedure Rule 7.1, Plaintiff Boise Cascade Company

(“Boise Cascade”) states that it is publicly held, that Blackrock, Inc. owns approximately 16%

of Boise Cascade’s stock, and Vanguard Group, Inc. owns approximately 12.59% of Boise

Cascade’s stock.



                                              Respectfully submitted,

                                          By: /s/ David Viens
                                              Joseph Seckler, BBO #550309
                                              David Viens, BBO #664281
                                              Morrison Mahoney LLP
                                              446 Main Street, Suite 1010
                                              Worcester MA 01608
                                              Phone: 508-757-7777
                                              JSeckler@morrisonmahoney.com
                                              DViens@morrisonmahoney.com


                                              Attorneys for Plaintiff
                                              BOISE CASCADE COMPANY
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                                CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will

be sent to those indicated as non-registered participants on April 17, 2019.


 /s/ David Viens
